Case:17-03283-LTS Doc#:13678-3 Filed:07/15/20 Entered:07/15/20 18:46:21   Desc:
                           Exhibit C Page 1 of 4



                                 EXHIBIT C

                              Retention Order
 Case:17-03283-LTS Doc#:1002
Case:17-03283-LTS   Doc#:13678-3   Filed:07/15/20
                              Filed:08/10/17        Entered:07/15/20
                                               Entered:08/10/17      18:46:21
                                                                17:12:48      Desc:
                                                                           Desc: Main
                              Exhibit C  Page  2
                             Document Page 1 of 3of 4



                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


     In re:                                                          PROMESA
                                                                     Title III
     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO                                     No. 17 BK 3283-LTS
     RICO,
                                                                     (Jointly Administered)
               as representative of

     THE COMMONWEALTH OF PUERTO RICO,
     et al.

                              Debtors.1


                             ORDER AUTHORIZING THE
                      EMPLOYMENT OF JENNER & BLOCK LLP AS
                ATTORNEYS FOR THE COMMITTEE OF RETIRED EMPLOYEES

              Upon the Application filed by the Official Committee of Retired Employees of Puerto Rico

 (the “Retiree Committee”) in these Title III Cases for entry of an order to employ the law firm of

 Jenner & Block LLP (“Jenner & Block”) as attorneys for the Retiree Committee effective as of

 June 16, 2017, pursuant to sections 105(a) and 1103(a) of title 11 of the United States Code (the

 “Bankruptcy Code”), made applicable to these cases pursuant to section 301(a) of the Puerto

 Rico Oversight, Management, and Economic Stability Act (“PROMESA”), 48 U.S.C. § 2161(a);2

 and upon the Declaration of Robert Gordon in Support of the Application (the “Gordon


 1
           The Debtors in these jointly-administered PROMESA title III cases (these “Title III Cases”), along with
 each Debtor’s respective title III case number listed as a bankruptcy case number due to software limitations and the
 last four (4) digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto
 Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
 Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto
 Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal
 Tax ID: 3808); and (iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico
 (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686).
 2
           PROMESA is codified at 48 U.S.C. §§ 2101–2241. Unless otherwise noted, all Bankruptcy Code sections
 cited in this Order are made applicable to these Title III Cases by section 301(a) of PROMESA.
 Case:17-03283-LTS Doc#:1002
Case:17-03283-LTS   Doc#:13678-3   Filed:07/15/20
                              Filed:08/10/17        Entered:07/15/20
                                               Entered:08/10/17      18:46:21
                                                                17:12:48      Desc:
                                                                           Desc: Main
                              Exhibit C  Page  3
                             Document Page 2 of 3of 4



 Declaration”); and the Court having heard the statements of counsel in support of the relief

 requested therein and at a hearing thereon (the “Hearing”); and the Court finding that (a) the Court

 has subject matter jurisdiction over this matter pursuant to PROMESA section 306(a), (b) Jenner

 & Block does not hold or represent any interest materially adverse to the Retiree Committee with

 respect to matters for which Jenner & Block is to be employed, and (c) the Retiree Committee’s

 employment of Jenner & Block is in the best interest of the Retiree Committee; and the Court

 finding that notice of the Application given by the Retiree Committee was sufficient under the

 circumstances and that no other or further notice is necessary; and the Court being fully advised

 in the premises and having determined that the legal and factual bases set forth in the Application,

 the Gordon Declaration, and at the Hearing on the Application establish just cause for the relief

 herein granted; it is hereby:

        ORDERED, ADJUDGED AND DECREED THAT:

        1.         The Application is GRANTED, as set forth herein.

        2.         The Retiree Committee is authorized, pursuant to section 1103(a) of the Bankruptcy

 Code, to employ Jenner & Block as its counsel in these Title III Cases in accordance with the terms

 and conditions set forth in the Application, effective as of June 16, 2017.

        3.         Jenner & Block shall be entitled to allowance and payment of compensation for

 professional services rendered and reimbursement of expenses incurred in connection with these

 Title III Cases as an administrative priority expense under section 503(b) of the Bankruptcy Code

 pursuant to any procedures established and required by PROMESA, this Court, and the United

 States Trustee.

        4.         The Retiree Committee is authorized and empowered to take all actions necessary

 to implement the relief granted in this Order.




 081017 JENNER & BLOCK RETENTION ORDER              VERSION AUGUST 10, 2017                        2
 Case:17-03283-LTS Doc#:1002
Case:17-03283-LTS   Doc#:13678-3   Filed:07/15/20
                              Filed:08/10/17        Entered:07/15/20
                                               Entered:08/10/17      18:46:21
                                                                17:12:48      Desc:
                                                                           Desc: Main
                              Exhibit C  Page  4
                             Document Page 3 of 3of 4



        5.      The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

        6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.

        7.      This Order resolves docket entry no. 670.

        SO ORDERED.


 Dated: August 10, 2017
                                                               /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                              United States District Judge




 081017 JENNER & BLOCK RETENTION ORDER            VERSION AUGUST 10, 2017                          3
